                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


CONCORD MUSIC GROUP, INC., et. al.,

                          Plaintiffs,            Case No. 3:23-cv-00606

           v.                                    Hon. Aleta A. Trauger

X CORP., D/B/A TWITTER,

                          Defendant.




          DEFENDANT X CORP.’S REPLY MEMORANDUM OF LAW
               IN SUPPORT OF ITS MOTION TO DISMISS




Case 3:23-cv-00606   Document 82        Filed 10/06/23   Page 1 of 14 PageID #: 463
                                                TABLE OF CONTENTS

                                                                                                                               Page

ARGUMENT .......................................................................................................................... 1

I.        THE COMPLAINT DOES NOT PLAUSIBLY ALLEGE DIRECT
          INFRINGEMENT ........................................................................................................ 1

II.       THE COMPLAINT DOES NOT PLAUSIBLY ALLEGE CONTRIBUTORY
          INFRINGEMENT ........................................................................................................ 5

III.      THE COMPLAINT DOES NOT PLAUSIBLY ALLEGE VICARIOUS
          LIABILITY ................................................................................................................. 8

          A.        The Complaint Does Not Allege A Direct Financial Benefit ............................... 8

          B.        The Complaint Does Not Allege Supervision ................................................... 10

CONCLUSION ..................................................................................................................... 10




                                                                  i
     Case 3:23-cv-00606              Document 82               Filed 10/06/23            Page 2 of 14 PageID #: 464
                                           ARGUMENT

I.     THE COMPLAINT                 DOES       NOT       PLAUSIBLY          ALLEGE        DIRECT
       INFRINGEMENT

       Plaintiffs’ primary argument is that they need not plead volitional conduct to state a claim

for direct infringement because “with respect to the public performance right, the Supreme Court’s

decision in Aereo controls.” Opp. 3. Courts have expressly rejected this position. See, e.g., Hunley

v. Instagram, LLC, 73 F.4th 1060, 1074 (9th Cir. 2023) (“Post-Aereo, we have continued to require

proof of causation as an element of a direct infringement claim. In such cases we have taken

account of Aereo and concluded that our volitional conduct requirement is consistent with the

Aereo majority opinion, and thus remains intact in this circuit.”) (quotations, citations and brackets

omitted); BWP Media USA Inc. v. Polyvore, Inc., 922 F.3d 42, 49 (2d Cir. 2019) (Walker, J.,

concurring) (“Aereo did nothing to disturb Cablevision’s volitional conduct requirement and that

requirement continues to apply to cases involving ISPs.”); BWP Media USA, Inc. v. T & S Software

Assocs., Inc., 852 F.3d 436, 442 (5th Cir. 2017) (“We likewise conclude that the volitional-conduct

requirement is consistent with the Aereo majority opinion....”) (quotations and brackets omitted);

Millennium Funding, Inc. v. Priv. Internet Access, Inc., 2022 WL 7560395, at *11-13 (D. Colo.

Oct. 13, 2022) (rejecting argument that Aereo eliminated volitional requirement).

       Indeed, since Aereo was decided, courts continue to treat volitional conduct as an element

of direct infringement of the performance right. See, e.g., ABKCO Music, Inc. v. Sagan, 50 F.4th

309, 321-22 (2d Cir. 2022) (volition required to prove infringement of performance right via

streaming); Millennium Funding, 2022 WL 7560395, at *12-15 (granting motion to dismiss for

failure to plead volitional conduct infringing performance right); BMG Rts. Mgmt. (US) LLC v.

Joyy Inc., 644 F. Supp. 3d 602, 605, 608-09 (C.D. Cal. 2022) (granting motion to dismiss against

owners of “a social media platform ‘based on user-generated short video content’ similar to



                                                  1
 Case 3:23-cv-00606         Document 82        Filed 10/06/23       Page 3 of 14 PageID #: 465
TikTok” because “Plaintiff fails to allege volitional conduct by Defendants”); Bus. Casual

Holdings, LLC v. YouTube, LLC, 2022 WL 837596, at *3-4 (S.D.N.Y. Mar. 21, 2022) (granting

motion to dismiss for failure to plead adequately that YouTube engaged in volitional conduct

relating to allegedly infringing videos); Average Joe’s Ent. Grp., LLC v. SoundCloud, LTD., 2018

WL 6582829, at *2 (M.D. Tenn. Oct. 17, 2018) (“The volition requirement applies regardless of

which exclusive right a plaintiff claims the defendant infringed.”); Fox Broad. Co. v. DISH

Network LLC, 2015 WL 13655436, at *12 (C.D. Cal. Jan. 12, 2015) (“If any public performance

occurs when subscribers use DISH Anywhere, DISH may be directly liable if it engages in

sufficient volitional conduct enabling that performance.”).

       Notwithstanding this authority, Plaintiffs argue that post-Aereo “nothing more is needed”

than the allegation that X streams audiovisual content. Opp. 6. But Aereo is inapposite because it

does not address the volitional conduct requirement. The question in Aereo was whether the

audiovisual streams generated by the defendant implicated the “public performance” right under

Section 106 of the Copyright Act. Aereo, 573 U.S. at 451 (“we conclude that Aereo ‘perform[s]’

petitioners’ copyrighted works ‘publicly,’ as those terms are defined by the Transmit Clause.”).

That question is not at issue in this motion, which is premised on a failure to plead volition.

Plaintiffs have failed to plead that X was an active participant in the alleged infringement, as

opposed to a passive conduit for it. See Mot. 4-9.

       Although the cases cited by Plaintiffs do not expressly discuss volition, the requisite

volition was present in each case due to the defendants’ active role in the infringements. In Aereo,

the defendant’s business model was designed to obtain and supply infringing content to customers.

See T & S Software Assocs., Inc., 852 F.3d at 442 (“Aereo played an active role in the infringement.

That role was to route infringing content to its users. True, its users would request the content, but




                                                  2
 Case 3:23-cv-00606         Document 82        Filed 10/06/23       Page 4 of 14 PageID #: 466
they did not merely utilize Aereo’s service to store infringing content they obtained elsewhere.

Aereo, not its users, provided the means to obtain and transmit copyrighted performances. Aereo’s

involvement, in other words, was more than passive.”). In Atlantic Recording Corp. v. Spinrilla,

LLC, the defendants selected and uploaded the infringing content. 506 F. Supp. 3d 1294, 1300

(N.D. Ga. 2020) (“Defendants concede that [they] uploaded thirty-eight of the forty-five

mixtapes”). In Spanski Enterprises, Inc. v. Telewizja Polska, S.A., the defendant uploaded the

infringing content and then directed it to the United States. 883 F.3d 904, 906 (D.C. Cir. 2018)

(“When the owner of a foreign website, acting abroad, uploads video content in which another

party holds exclusive United States public performance rights under the Copyright Act and then

directs the uploaded content to United States viewers upon their reque st, does it commit an

infringing ‘performance’ under the Act?”). These acts supplied the required volition.

       By contrast, Plaintiffs’ Complaint fails to allege that X played an active role in the claimed

infringements such that it proximately caused them. Plaintiffs do not allege that X selected,

uploaded, previewed, or had any direct involvement in the alleged infringements. Rather, the

conduct that Plaintiffs cite (Opp. 8) is limited to the operation of the platform in general, and is

behavior with, at best, an indirect nexus to the alleged infringements. VHT, Inc. v. Zillow Grp.,

Inc., 918 F.3d 723, 738 (9th Cir. 2019) (“courts have found no direct liability where an online

system responds automatically to users’ input without intervening conduct by the website owner.”)

(quotations and brackets omitted). This is not enough to sustain a claim. Average Joe’s, 2018 WL

6582829, at *2 (“the volitional conduct element … is a basic requirement of causation: ‘As its

name suggests, direct liability must be premised on conduct that can reasonably be described as

the direct cause of the infringement.’”) (quoting Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657,

666 (9th Cir. 2017)).




                                                 3
 Case 3:23-cv-00606         Document 82       Filed 10/06/23       Page 5 of 14 PageID #: 467
        Plaintiffs argue that X is not “insulate[d]…from responsibility” just because certain of X’s

operations are automated or driven by an algorithm. Opp. 8. X agrees. However, the Complaint

fails to allege that X’s automated functions can reasonably be considered the direct cause of the

infringement. At best, the automated features cited by Plaintiffs that enable uploading, streaming,

indexing, and optimizing constitute “passive participation” by way of general site operation, which

is “not sufficient to cross the volitional-conduct line.” Zillow Grp., 918 F.3d at 738.

        Finally, Plaintiffs incorrectly argue that X’s alleged failure to disable some user posts after

receiving DMCA notices is itself sufficient to establish volitional conduct. Opp. 9. As discussed

in X’s opening brief, that argument has been rejected.1 See Mot. 8 (citing cases). The cases cited

by Plaintiffs do not hold otherwise. In Bell v. Wilmott Storage Servs., LLC, volition was

established because defendant actively and personally managed the website on which the

infringing content appeared. 12 F.4th 1065, 1081 (9th Cir. 2021) (“VisitUSA.com did not merely

function as an online platform where third-party users independently upload and share

materials, but rather a website managed (and updated) by Wilmott itself, which included the data

then stored on the website’s servers”) (citation omitted). In Dish Network L.L.C. v. Jadoo TV,

Inc., volition was established because the defendant selected the infringing content to stream to

users. 2023 WL 4004115, at *10 (N.D. Cal. June 13, 2023).2 Neither of these cases stand for the

proposition that a platform’s failure to respond expeditiously to DMCA notices itself supplies the




1  Although Plaintiffs incorrectly characterize X’s response to their DMCA notices as “abysmal”
(Opp. 9), the Complaint implicitly acknowledges that X has removed hundreds of thousands of
posts in response to NMPA’s notices as part of its anti-infringement program. Compl. ¶¶ 149,
152.
2    In Jadoo, the district court applied the volitional conduct requirement to the claimed
infringement of the performance right, undermining Plaintiffs’ argument that no such requirement
exists for alleged infringement of the performance right post-Aereo. Id.


                                                   4
    Case 3:23-cv-00606       Document 82        Filed 10/06/23      Page 6 of 14 PageID #: 468
necessary volitional conduct to state a claim for direct infringement, and X is aware of no case that

does.

II.     THE COMPLAINT DOES NOT PLAUSIBLY ALLEGE CONTRIBUTORY
        INFRINGEMENT

        Plaintiffs argue that the standard for contributory infringement articulated in Metro-

Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913 (2005) (“Grokster”) does not apply

to this case. Rather, Plaintiffs maintain that a claim against X can be stated by pleading “material

contribution” under the traditional formulation. Opp. 10-12. This argument ignores the rules

articulated by the Supreme Court in Sony Corp. of America v. Universal City Studios, Inc., 464

U.S. 417 (1984) (“Sony”) and Grokster, which apply to cases like this one, where the secondary

infringement claims arise out of a defendant’s sale of a product or service with a lawful purpose.

        Under the traditional formulation of contributory infringement, a defendant is liable if, with

knowledge of the infringing activity, it “induces, causes or materially contributes to the infringing

conduct of another.” Bridgeport Music, Inc. v. Diamond Time, Ltd., 371 F.3d 883, 889 (6th Cir.

2004) (quotations omitted). However, the Supreme Court’s rulings in Sony and Grokster limited

the circumstances under which this claim can lie against defendants whose role in the alleged

infringement is merely to offer a lawful service. Specifically, Sony held that the sale of a product

or service does not constitute contributory infringement if it is “capable of substantial

noninfringing uses.” 464 U.S. at 442. Grokster expanded on the Sony rule and held the mere sale

of a product or service “capable of both lawful and unlawful use” does not constitute contributory

infringement unless there is additional evidence that the defendant acted “with the object of

promoting its use to infringe copyright, as shown by clear expression or other affirmative steps

taken to foster infringement.” 545 U.S. at 918-19. In such situations, it is insufficient to premise

a contributory liability claim on “mere knowledge of infringing potential or of actual infringing



                                                  5
 Case 3:23-cv-00606         Document 82        Filed 10/06/23       Page 7 of 14 PageID #: 469
uses.” Id. at 937 (emphasis added). Rather, a plaintiff must prove the defendant distributed a

device or service with the specific intent of fostering infringement. Id. at 936-37.

       Ignoring these rules, Plaintiffs argue that “material contribution” is an “additional

pathway” to state a claim for contributory infringement against the purveyor of a service with

substantial non-infringing uses. Opp. 11. This argument finds no support in Grokster, and Justice

Ginsburg’s concurrence in that case directly refutes it: “Liability under our jurisprudence may be

predicated on actively encouraging (or inducing) infringement through specific acts (as the Court’s

opinion develops) or on distributing a product distributees use to infringe copyrights, if the product

is not capable of ‘substantial’ or ‘commercially significant’ noninfringing uses.” 545 U.S. at 942.

In other words, there are only two ways that a defendant accused of contributory infringement for

supplying a product or service to the direct infringer can be liable—by actively encouraging

infringement, or by distributing a product not capable of substantial non-infringing uses. Indeed,

allowing a claim of contributory infringement based on a “material contribution” alone to lie

against a defendant that offers a service with substantial non-infringing uses would create a third

option—and would completely gut the rules articulated in Sony and Grokster.

       In Eight Mile Style, LLC v. Spotify USA Inc. (“Eight Mile”), this Court correctly recognized

and applied the distinction in the law between contributory liability when it arises in the context

of “infringement-enabling technology” versus “the entire range of situations in which secondary

liability might occur.” 535 F. Supp. 3d 738, 746 (M.D. Tenn. 2021) (Trauger, J.). The Court

stated that “if a case falls squarely within Grokster, then Grokster, of course, applies.” Id. Here,

Grokster applies because it is undisputed that the alleged infringement arises from the use of X’s

platform which is “capable of substantial non-infringing uses.” The out-of-circuit decisions cited

by Plaintiffs (Opp. 12-13), which fail to recognize this important distinction in the law, cannot be




                                                  6
 Case 3:23-cv-00606         Document 82        Filed 10/06/23       Page 8 of 14 PageID #: 470
squared with Sony or Grokster, for the reasons discussed above. 3 To be sure, X does not dispute

that the traditional contributory infringement standard continues to apply in certain circumstances.

For example, the “material contribution” standard was applied by this Court in Eight Mile because

there, unlike here, the alleged infringement did not arise from the sale of a product or service

capable of substantial non-infringing uses. 535 F. Supp. 3d at 746.

        In the alternative, Plaintiffs argue the Complaint satisfies the Grokster standard because X

allegedly did not terminate the accounts of some users after receiving NMPA’s DMCA notices.

Opp. 13. This allegation is insufficient under Grokster because “mere knowledge of infringing

potential or of actual infringing uses would not be enough here to subject a distributor to liability.”

545 U.S. at 937; id. at 932-33 (“the doctrine absolves the equivocal conduct of selling an item with

substantial lawful as well as unlawful uses, and limits liability to instances of more acute fault

than the mere understanding that some of one’s products will be misused.”) (emphasis added);

id. at 923 (“Grokster and StreamCast are not, however, merely passive recipients of information

about infringing use.”) (emphasis added). In short, failure to terminate accounts is not “clear

expression” or “affirmative steps” by X to promote infringement.

        The claim that X intended to foster infringement is particularly implausible in light of X’s

anti-infringement policies and practices (Mot. 11 and Rose Decl. Ex. A), including that X has

removed hundreds of thousands of allegedly infringing posts in response to Plaintiffs’ notices. 4


3   The Fourth and Fifth Circuits are currently hearing appeals concerning the misapplication of
Grokster in the underlying cases. See, e.g., UMG Recordings, Inc. v. Grande Commc’ns, No. 23-
50162, ECF 59-1 (5th Cir. 2023); Sony Music Ent. v. Cox Commc’ns, Inc., No. 21-1168, ECF 50
(4th Cir. 2021) (oral argument heard on March 9, 2022).
4   Plaintiffs also allege they have sent X notices of “over 300,000 infringing tweets,” but the
Complaint concedes there are just “thousands of instances where Twitter waited 30 days or more
to remove or disable access to the content identified in the NMPA Notices.” Compare Compl. ¶
140 with Compl. ¶¶ 149, 152 (emphasis omitted). In other words, the Complaint admits X removed
or disabled the vast majority of the complained-of content as part of its anti-infringement efforts.


                                                   7
    Case 3:23-cv-00606       Document 82        Filed 10/06/23      Page 9 of 14 PageID #: 471
See Average Joe’s, 2018 WL 6582829, at *6. The allegations in the Complaint (and documents

referenced in it) demonstrate: (1) X’s Terms of Service prohibits the use of the platform to infringe

copyrights (Rose Ex. A at 3); (2) X supplies copyright owners with an automated form to

streamline the submission of copyright complaints, along with detailed instructions for copyright

owners on how to do so effectively (id. at 3-4, 13-14, 25-26); (3) X devotes significant resources

to processing copyright infringement complaints and communicating with both copyright holders

and users about them (id. at 13-14); and (4) X removes complained-of content from the platform

and suspends access for users who demonstrate a pattern of repeat infringement (id. at 16).

Although Plaintiffs allege that X’s anti-infringement practices are imperfect, the Complaint

acknowledges that these practices exist and are employed by X to combat infringement. Compl.

¶¶ 148-152, 155-158, 163-165. Thus, the Complaint fails to plausibly allege “clear expression or

affirmative acts” showing that X encourages copyright infringement on its platform.

III.   THE COMPLAINT DOES NOT PLAUSIBLY ALLEGE VICARIOUS LIABILITY

       A.      The Complaint Does Not Allege A Direct Financial Benefit

       The Complaint fails to allege a “causal relationship” between the alleged infringing activity

and X’s direct financial benefit. First, Plaintiffs wrongly claim that “X monetizes infringing posts”

based on a screenshot of “an infringing post … surrounded by a promoted tweet and a promoted

account.” Opp. 14-15. But the Complaint does not allege any relationship or connection between

the promoted ads and allegedly infringing post. The mere fact that an ad happens to appear near a

user post accused of infringement does not mean that the accused post caused “money [to] flow[]

into [X’s] pockets.” Opp. 15. To make that conclusion plausible, Plaintiffs must plead facts that

would establish that the infringement was the reason X earned money from the ad. The Complaint

does not contain any such allegations. Nor does the Complaint allege that a promoted tweet would

not appear, or would appear differently, if a post was non-infringing. None of Plaintiffs’ cited


                                                 8
Case 3:23-cv-00606         Document 82        Filed 10/06/23      Page 10 of 14 PageID #: 472
cases (Opp. 15) suggest that the mere proximity of an ad to an allegedly infringing post is a

sufficient causal nexus. 5 See Mot. 15. Rather, Plaintiffs’ allegations are just as vague and

conclusory as those found to be insufficient in Parker v. Google, Inc., 422 F. Supp. 2d 492, 500

(E.D. Pa. 2006), aff’d, 242 F. App’x 833 (3d Cir. 2007). See also Ellison v. Robertson, 357 F.3d

1072, 1079 (9th Cir. 2004) (no direct financial benefit where the “record lacks evidence that AOL

attracted or retained subscriptions because of the infringement or lost subscriptions because of

AOL’s eventual obstruction of the infringement”).

        Second, Plaintiffs conclude that “X directly benefits financially because the infringed

works … are a draw for new and existing users” (Opp. 15-16) without pleading any factual

allegations to support this conclusion. As explained in X’s opening brief, these ginned up, made-

for-litigation statistics were cited to purportedly establish that infringement appeals to users of X

(Compl. ¶ 174), but they reflect only that Plaintiffs chose to send more notices to accounts with

larger numbers of followers. Moreover, these statistics do not allege a causal link between the

infringing posts and X’s financial benefit. Finally, the cases cited by Plaintiffs in favor of the draw

theory (Opp. 16-17) involve materially different facts; in those cases, each defendant accepted

money directly for the alleged infringement. 6

        Third, Plaintiffs’ suggestion that “X has obtained a direct financial benefit for itself by not

paying the fees required to license music for the activity at issue” (Opp. 17 -18) is “plainly circular.”


5   In particular, Nat’l Photo Grp., LLC v. Allvoices, Inc., 2014 WL 280391 (N.D. Cal. Jan. 24,
2014), does not establish that an advertisement appearing near an allegedly infringing image
constitutes a direct financial benefit. That court granted the motion to dismiss based on insufficient
allegations of control. Id. at *8.
6 Warner Recs. Inc. v. Charter Commc’ns, Inc., 454 F. Supp. 3d 1069 (D. Colo. 2020) and BMG

Rts. Mgmt. (US) LLC v. Altice USA, Inc., 2023 WL 3436089 (E.D. Tex. May 12, 2023), involved
Internet Service Providers that had allegedly infringing subscribers who paid fees directly to the
defendants. Bennett v. Navarre Corp., 2008 WL 11510552 (M.D. Tenn. Jan. 17, 2008) involved
a defendant selling copyrighted recordings.


                                                   9
Case 3:23-cv-00606          Document 82         Filed 10/06/23       Page 11 of 14 PageID #: 473
Erickson Prods., Inc. v. Kast, 921 F.3d 822, 830 (9th Cir. 2019). As explained by the Ninth Circuit,

“the direct infringer’s avoidance of fees alone cannot satisfy the requirement of a direct financial

benefit to the vicarious infringer. Otherwise, the requirement of a direct financial benefit would

be rendered meaningless, since—at least where, as here, licenses are for sale—a direct infringer

necessarily saves money by failing to obtain a license.” Id. The lone case cited by Plaintiffs on

this point is distinguishable: Broad. Music, Inc. v. Mirage Images, Inc., 2005 WL 6580656, at *2-

5, 10 (E.D. Tenn. Nov. 2, 2005), involved a nightclub that failed to pay fees for its own use of the

copyrighted music. By contrast, X is accused of failing to pay a license fee to cover alleged

infringement by users that is expressly prohibited by X’s Terms of Service.

        B.      The Complaint Does Not Allege Supervision

        Plaintiffs do not dispute that X lacks the practical ability to determine whether any specific

posts violate third party copyrights given the tremendous volume of user posts to the site each day.

Mot. 17-18. Rather, Plaintiffs wrongly equate X’s enforcement options (Opp. 18-20), such as its

ability to remove posts or terminate accounts, with the ability to supervise what users do on X’s

platform. But courts have held that a mere right to terminate does not show the right and ability

to supervise. Mot. 18-19 (citing cases). That infringement could “continue even after termination”

(Opp. 20) in those cases does not alter the analysis; here, the “subsequent infringement” Plaintiffs

are concerned about could continue or reappear—on X or on other platforms.

                                          CONCLUSION

        For the foregoing reasons, X respectfully requests that the Court dismiss the Complaint in

its entirety.

 Dated: October 6, 2023                             Respectfully Submitted,

                                                    By: /s/ Aubrey B. Harwell III
 Andrew H. Schapiro (pro hac vice)                  Aubrey B. Harwell III (No. 017394)



                                                  10
Case 3:23-cv-00606          Document 82        Filed 10/06/23      Page 12 of 14 PageID #: 474
QUINN EMANUEL URQUHART &                William J. Harbison II (No. 33330)
SULLIVAN, LLP                           Olivia Arboneaux (No. 40225)
191 N. Wacker Drive, Suite 2700         NEAL & HARWELL, PLC
Chicago, IL 60606                       1201 Demonbreun Street, Suite 1000
Telephone: (312) 705-7400               Nashville, Tennessee 37203
andrewschapiro@quinnemanuel.com         Telephone: (615) 244-1713
                                        Facsimile: (615) 726-0573
Alex Spiro (pro hac vice)               tharwell@nealharwell.com
Jessica A. Rose (pro hac vice)          jharbison@nealharwell.com
Dylan I. Scher (pro hac vice)           oarboneaux@nealharwell.com
D. Seth Fortenbery (pro hac vice)
QUINN EMANUEL URQUHART &                David Eiseman (pro hac vice)
SULLIVAN, LLP                           Linda J. Brewer (pro hac vice)
51 Madison Avenue, 22nd Floor           QUINN EMANUEL URQUHART &
New York, New York 10010                SULLIVAN, LLP
Telephone: (212) 895-2500               50 California Street, 22nd Floor
alexspiro@quinnemanuel.com              San Francisco, California 94111
jessicarose@quinnemanuel.com            Telephone: (415) 875-6600
dylanscher@quinnemanuel.com             davideiseman@quinnemanuel.com
sethfortenbery@quinnemanuel.com         lindabrewer@quinnemanuel.com

                                        Attorneys for Defendant




                                       11
Case 3:23-cv-00606    Document 82   Filed 10/06/23   Page 13 of 14 PageID #: 475
                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on October 6, 2023

with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all

parties and counsel of record by operation of the Court’s CM/ECF system.

 Steven A. Riley                                Scott A. Zebrak
 John R. Jacobson                               Matthew J. Oppenheim
 Tim Harvey                                     Keith Howell
 Grace C. Peck                                  Meredith Stewart
 Riley & Jacobson, PLC                          OPPENHEIM +ZEBRAK, LLP
 1906 West End Avenue                           4530 Wisconsin Ave., NW, 5th Floor
 Nashville, TN 37203                            Washington, DC 20016
 (615) 320-3700                                 Telephone: (202) 480-2999
 sriley@rjfirm.com                              scott@oandzlaw.com
 jjacobson@rjfirm.com                           matt@oandzlaw.com
 tharvey@rjfirm.com                             khowell@oandzlaw.com
 gpeck@rjfirm.com                               mstewart@oandzlaw.com

                                                Alexander Kaplan
                                                Carly Rothman
                                                Andrew Guerra
                                                Matthew Cooper
                                                OPPENHEIM + ZEBRAK, LLP
                                                461 5th Avenue, 19th Floor
                                                New York, NY 10017
                                                Telephone: (212) 951-1156
                                                alex@oandzlaw.com
                                                carly@oandzlaw.com
                                                andrew@oandzlaw.com
                                                mcooper@oandzlaw.com

                                                Attorneys for Plaintiffs



                                                   By: /s/ Aubrey B. Harwell III
                                                   Aubrey B. Harwell III




                                               12
Case 3:23-cv-00606        Document 82       Filed 10/06/23     Page 14 of 14 PageID #: 476
